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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                        24-8551-WM
                              CASE NO. ________________________


  UNITED STATES of AMERICA                                               SW
  V.
                                                               Oct 22, 2024
  JOHN JOSEPH KITZELMAN,

                 Defendant.                                                 WPB

                                         /

                                    CRIMINAL COVER SHEET

       1. Did this matter originate from a matter pending in the Northern Region of the United States
          Attorney=s Office prior to August 8, 2014 (Mag. Judge Shaniek M. Maynard)? NO

       2. Did this matter originate from a matter pending in the Central Region of the United States
          Attorney=s Office prior to October 3, 2019 (Mag. Judge Jared M. Strauss)? NO

       3. Did this matter involve the participation of or consultation with now Magistrate Judge
          Eduardo I. Sanchez during his tenure at the U.S. Attorney’s Office, which concluded on
          January 22, 2023? NO

       4. Did this matter involve the participation of or consultation with now Magistrate Judge
          Marta Fulgueira Elfenbein during her tenure at the U.S. Attorney’s Office, which
          concluded on March 5, 2024? NO



                                                       Respectfully submitted,

                                                       MARKENZY LAPOINTE
                                                       UNITED STATES ATTORNEY


                                                By:    ____________________________
                                                       Brian D. Ralston
                                                       Assistant United States Attorney
                                                       Court ID No.: A5502727
                                                       500 S. Australian Avenue, Suite 400
                                                       West Palm Beach, Florida 33401
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AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                   Southern District
                                                 __________ Districtof
                                                                     ofFlorida
                                                                       __________

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No. 24-8551-WM                             SW
               JOHN JOSEPH KITZELMAN,                                )
                                                                     )                                                Oct 22, 2024
                                                                     )
                           Defendant(s)
                                                                                                                              WPB


                                                    CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                June 24, July 18 2024             in the county of           Palm Beach             in the
     Southern          District of            Florida         , the defendant(s) violated:

            Code Section                                                       Offense Description
18 U.S.C. § 922(g)(1)                          Possession of a Firearm and Ammunition by a Convicted Felon




         This criminal complaint is based on these facts:
See Attached Affidavit




         ✔ Continued on the attached sheet.
         u



                                                                                               Complainant’s signature

                                                                                       Corrine Martin, Special Agent DEA.
                                                                                                Printed name and title
 Sworn to and attested to me by Telephone (Facetime)
 per Fed. R. Crim. P.4(d) and 4.1



Date: October 22, 2024
                                                                                                  Judge’s signature

City and state:                      West Palm Beach, FL                      William Matthewman United States Magistrate Judge
                                                                                                Printed name and title
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                                              AFFIDAVIT

          I, Corrine Martin, being duly sworn, do depose and state:

                                           INTRODUCTION

          1. I am a sworn Special Agent (“SA”) with the Drug Enforcement Administration (“DEA”)

  and have served as such since 2009. As a SA, I am authorized to conduct investigations of, and to

  make arrests for, offenses enumerated in Title 18, United States Code, Section 2516, which

  includes offenses under Title 21, United States Code.

          2. This affidavit does not contain all the information known to me about this investigation,

rather it includes only the information necessary to establish a finding of probable cause in support

of a criminal complaint and arrest warrant charging John Joseph KITZELMAN (hereinafter

“KITZELMAN”) with a violation of Title 18, United States Code, Section 922(g)(1).

          3. As a DEA Special Agent, I have personally conducted narcotics investigations and have

  been instructed in investigative techniques for federal crimes including the unlawful distribution

  of illegal narcotics, possession with intent to distribute controlled substances, importation of illegal

  narcotics, use of communication facilities to conduct illegal narcotics transactions, money

  laundering, maintaining places for the purposes of manufacturing, distributing or using controlled

  substances, possession of firearms by convicted felons and conspiracies to commit these offenses,

  in violation of Title 21, United States Code, Sections 841(a)(1), 843(b), 856, 846, 952, 922 and

  963, respectively.

          4. The information contained in this affidavit is based upon my own personal knowledge,

  as well as information provided to me by other law enforcement officers and agents. This affidavit

  is submitted for the limited purpose of establishing probable cause. It does not contain all the

  information known to me concerning this investigation.



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                                        PROBABLE CAUSE

                                             June 24, 2024
                               Traffic Stop #1 – Firearms and Narcotics


         5. On June 24, 2024, deputies from the Palm Beach County Sheriff’s (PBSO) conducted a

  traffic stop of a 2021 Dodge Ram truck, registered to and driven by John KITZELMAN, in West

  Palm Beach, Florida, as a result of an illegal window tint. KITZELMAN was accompanied by

  three other individuals. When a deputy asked for the vehicle registration and proof of insurance,

  the front seat passenger opened the glove compartment and deputies observed two firearms inside.

  As a result of this discovery, deputies removed the occupants of the truck and conducted a pat

  down for additional weapons. The occupants were detained outside of the vehicle and as deputies

  conducted further investigation, they learned KITZELMAN, as well as two of the other occupants,

  who were seated in the rear of the vehicle, had previously been convicted of felony crimes.

         6. In an effort to identify the owner/possessor of the firearms, deputies conducted separate

  post Miranda interviews of the vehicle occupants. As this was occurring, deputies observed one

  of the backseat passengers, who was seated along the curb of the parking lot, throw several bags

  of a white substance, which later field tested positive for cocaine, into the bushes behind her. This

  was captured on video dashcam of one of the deputies’ vehicles. During a post Miranda statement,

  the backseat passenger told deputies she and the other three occupants of the vehicle reside with

  KITZELMAN at his residence located at 5440 NW Comer Street, Port St. Lucie. When asked

  about the cocaine she threw into the bushes, she advised she found the cocaine in the truck. She

  refused to answer additional questions as to the cocaine and/or her knowledge or ownership of the

  firearms. During additional post Miranda interviews, neither KITZELMAN nor any other

  occupants claimed knowledge or ownership of the firearms or drugs, which the backseat passenger

  reported she “found” in the vehicle. The second backseat passenger confirmed he lived with
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  KITZELMAN in Port St. Lucie, admitted to smoking crack cocaine with KITZELMAN and

  advised that he had observed crack cocaine at KITZELMAN’s house. The front seat passenger,

  was arrested after being found in possession of crack cocaine and the female backseat passenger

  was arrested for trafficking cocaine and tampering with evidence.

         7. Deputies obtained DNA standards from KITZELMAN, as well as the two backseat

  passengers to assist in identifying the owner/possessor of the firearms. Deputies seized the

  firearms, described as a Ruger, LCP, .380 caliber pistol, with four (4) rounds of .380 ammunition

  and a Carl Walther, model CCP, 9mm pistol, with six (6) rounds of 9mm ammunition and

  submitted them to the PBSO evidence department. These firearms and their corresponding

  magazines were processed for the presence of DNA by PBSO. These swabs as well as the DNA

  standards collected from KITZELMAN and the two backseat passengers were preserved as

  evidence at PBSO.

                                             July 17, 2024
                               Traffic Stop #2 – Firearms and Narcotics

         8. On July 17, 2024, deputies from the Palm Beach County Sheriff’s (PBSO) conducted a

  traffic stop of a 2022 Chevy Equinox, bearing a Tennessee license plate, driven by KITZELMAN,

  in West Palm Beach, Florida, as a result of a speeding violation. A search of the Tennessee license

  plate revealed the vehicle to be registered to KITZELMAN’s former spouse, who was the front

  seat passenger. Following a positive K-9 alert to the presence of illegal drugs, agents searched the

  vehicle. Agents located and seized more than 50 grams of crack cocaine and two loaded firearms

  in the center console of the vehicle.

         9. KITZELMAN, who was known to deputies to be a convicted felon from the encounter

  previously described herein, as well as three additional occupants were detained outside of the

  vehicle and interviewed. During post Miranda statements no one claimed knowledge or ownership

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  of the crack cocaine or the firearms. As deputies conducted further investigation, they learned the

  other three occupants of the vehicle had previously been convicted of felony crimes and reported

  to reside with KITZELMAN in Port St. Lucie.

         10. Deputies obtained DNA standards from KITZELMAN and the other vehicle occupants

  to assist in identifying the owner/possessor of the firearms. Deputies seized the firearms, described

  as a Kimber, Micro 9, 9mm pistol, with six (6) rounds of 9mm Blazer ammunition and a Ruger,

  LCP, .380 pistol, with six (6) rounds of PerFecta .380 ammunition and submitted them to the PBSO

  evidence department. These firearms and their corresponding magazines were processed for the

  presence of DNA by PBSO. These swabs, as well as the DNA standards collected from

  KITZELMAN and the other vehicle occupants were preserved as evidence at PBSO.

  KITZELMAN and two of the vehicle occupants were released. The backseat passenger, who was

  also present and arrested on June 24, 2024, when KITZELMAN was detained, was arrested on this

  date, for possession of cocaine.

                 DNA Results, Interstate Nexus Examination, and Felony Conviction

         11. On August 7, 2024, PBSO delivered the buccal swabs collected from KITZELMAN,

  as well swabs from the four firearms and magazines which are described herein to DNA Labs

  International for analysis. On October 2, 2024, agents received a certificate of analysis from DNA

  Labs International, which advised a DNA profile suitable for comparison was obtained from the

  buccal swabs from KITZELMAN. The analysis also revealed the following results and

  conclusions.

         12. With respect to the Ruger, LCP, .380 pistol, serial number: 372534371, seized on July

  18, 2024, swabs from the trigger guard, a DNA profile was obtained and indicates a mixture of at

  least three individuals, with at least one male contributor. KITZELMAN could not be excluded as



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  a contributor to this DNA profile. The DNA profile obtained from this item is approximately 580

  quadrillion times more probable if the sample originated from KITZELMAN and two unknown

  persons than if it originated from three unknown persons. This analysis provides very strong

  support for the proposition that KITZELMAN is a contributor to the DNA obtained from the

  sample. Swabs from the body/frame and the grips of this same firearm, were combined into a

  single sample and the DNA profile obtained from the sample indicates a mixture of at least three

  individuals, with at least one male contributor. KITZELMAN could not be excluded as a

  contributor to this DNA profile. The DNA profile obtained from this item is approximately 2.0

  quintillion times more probable if the sample originated from KITZELMAN and two unknown

  persons than if it originated from three unknown persons. This analysis provides very strong

  support for the proposition that KITZELMAN is a contributor to the DNA obtained from the

  sample. Swabs from the magazine revealed a DNA profile, which indicates a mixture of at least

  two individuals with at least one male contributor. KITZELMAN could not be excluded as a

  contributor to this DNA profile. The DNA profile obtained from this item is approximately 470

  quadrillion times more probable if the sample originated from KITZELMAN and one unknown

  person than if it originated from two unknown persons. This analysis provides very strong support

  for the proposition that KITZELMAN is a contributor to the DNA obtained from the sample.

         13. With respect to the Kimber, Micro 9, 9mm pistol, serial number: TB0012238, seized

  on July 18, 2024, swabs from the trigger guard, a DNA profile was obtained and indicates a mixture

  of at least three individuals, with at least one male contributor. KITZELMAN could not be

  excluded as a contributor to this DNA profile. The DNA profile obtained from this item is

  approximately 3.6 trillion times more probable if the sample originated from KITZELMAN and

  two unknown persons than if it originated from three unknown persons. This analysis provides



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  very strong support for the proposition that KITZELMAN is a contributor to the DNA obtained

  from the sample. Swabs from the body/frame and the grips of this same firearm, were combined

  into a single sample and the DNA profile obtained from the sample indicates a mixture of at least

  three individuals, with at least one male contributor. This DNA profile was interpreted as four

  contributors. KITZELMAN could not be excluded as a contributor to this DNA profile. The DNA

  profile obtained from this item is approximately 2.1 quintillion times more probable if the sample

  originated from KITZELMAN and three unknown persons than if it originated from four unknown

  persons. This analysis provides very strong support for the proposition that KITZELMAN is a

  contributor to the DNA obtained from the sample. Swabs from the magazine revealed a DNA

  profile, which indicates one male contributor. KITZELMAN could not be excluded as a

  contributor to this DNA profile. The chance that an unrelated person, chosen at random from the

  general population, would be a contributor to this DNA profile is approximately 1 in every 21

  nonillion individuals.

         14. With respect to the Ruger, LCP, .380 pistol, serial number: 372534378, seized on June

  24, 2024, swabs from the trigger guard, a DNA profile was obtained and indicates a mixture of at

  least four individuals, with at least two male contributors. KITZELMAN could not be excluded as

  a possible contributor to this DNA profile. The DNA profile obtained from this item is

  approximately 2.5 million times more probable if the sample originated from KITZELMAN and

  three unknown persons than if it originated from four unknown persons. This analysis provides

  very strong support for the proposition that KITZELMAN is a contributor to the DNA obtained

  from the sample. Swabs from the body/frame, grips and laser of this same firearm, were combined

  into a single sample and the DNA profile obtained from the sample indicates a mixture of at least

  four individuals, with at least two male contributors. KITZELMAN could not be excluded as a



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  contributor to this DNA profile. The DNA profile obtained from this item is approximately 1,400

  times more probable if the sample originated from four unknown persons than if it originated from

  KITZELMAN and three unknown persons. This analysis provides moderate support for the

  proposition that KITZELMAN is not a contributor to the DNA obtained from the sample. Swabs

  from the magazine revealed a DNA profile, which indicates a mixture of at least three individuals

  with at least one male contributor. KITZELMAN could not be excluded as a contributor to this

  DNA profile. The DNA profile obtained from this item is approximately 370 thousand times more

  probable if the sample originated from KITZELMAN and two unknown persons than if it

  originated from three unknown persons. This analysis provides very strong support for the

  proposition that KITZELMAN is a contributor to the DNA obtained from the sample.

         15. With respect to the Carl Walther, model CCP, 9mm pistol, serial number: WK135830,

  seized on June 24, 2024, swabs from the trigger guard, a DNA profile was obtained and indicates

  a mixture of at least three individuals, with at least one male contributor. This DNA profile was

  interpreted as four contributors. KITZELMAN could not be excluded as a contributor to this DNA

  profile. The DNA profile obtained from this item is approximately 290 quadrillion times more

  probable if the sample originated from KITZELMAN and three unknown persons than if it

  originated from four unknown persons. This analysis provides very strong support for the

  proposition that KITZELMAN is a contributor to the DNA obtained from the sample. Swabs from

  the body/frame and the grips of this same firearm, were combined into a single sample and the

  DNA profile obtained from the sample indicates a mixture of at least four individuals, with at least

  two male contributors. KITZELMAN could not be excluded as a contributor to this DNA profile.

  The DNA profile obtained from this item is approximately 10 trillion times more probable if the

  sample originated from KITZELMAN and three unknown persons than if it originated from four



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  unknown persons. This analysis provides very strong support for the proposition that

  KITZELMAN is a contributor to the DNA obtained from the sample. Swabs from the magazine

  revealed a DNA profile, which indicates a mixture of at least three individuals with at least two

  male contributors. KITZELMAN could not be excluded as a contributor to this DNA profile. The

  DNA profile obtained from this item is approximately 52 million times more probable if the sample

  originated from KITZELMAN and three unknown person than if it originated from four unknown

  persons. This analysis provides very strong support for the proposition that KITZELMAN is a

  contributor to the DNA obtained from the sample.

         16. On October 2, 2024, Bureau of Alcohol, Tobacco, Firearms and Explosives Special

  Agent Vincent Rubbo, who is certified as an interstate nexus expert as it pertains to the

  manufacturing of firearms and ammunition, was able to examine the four firearms recovered from

  KITZELMAN. Special Agent Rubbo determined all the firearms and ammunition were

  manufactured outside of the State of Florida and therefore traveled in and affected interstate

  commerce.

         17. As part of this investigation, agents conducted a query of the National Crime

  Information Center (NCIC) and confirmed that KITZELMAN has been convicted of seven felony

  crimes. Most recently, on March 16, 2003, KITZELMAN was indicted by a federal grand jury in

  the Southern District of Florida and charged with the offenses of possession of stolen firearms and

  possession of a firearm by a convicted felon. On April 28, 2004, KITZELMAN entered a plea of

  guilty to possession of a firearm by convicted felon and on July 9, 2004, KITZELMAN was

  sentenced to 188 months in the Bureau of Prisons, followed by five years of supervised release.

         18. Based on the foregoing facts and my training and experience, I submit that there is

  probable cause to believe that on June 24, 2024 and on July 18, 2024, KITZELMAN did commit



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  the criminal offense of possession of a firearm and ammunition by a prohibited person in violation

  of Title 18, United States Code, Section 922(g)(1).

  FURTHER YOUR AFFIANT SAYETH NAUGHT.



                                               ________________________________________
                                               CORRINE MARTIN
                                               Special Agent
                                               Drug Enforcement Administration

  Sworn to and attested to me by Affiant on
  October 22
           ___, 2024, by Telephone (Facetime)
  per Fed. R. Crim. P.4(d) and 4.1


  ________________________________________
  HON. WILLIAM MATTHEWMAN
  UNITED STATES MAGISTRATE JUDGE
  SOUTHERN DISTRICT OF FLORIDA




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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                          PENALTY SHEET

  Defendant's Name: John Joseph Kitzelman

  Case No: 24-8551-WM

  Count #: 1

  Possession of a Firearm and Ammunition by a Convicted Felon

  18 U.S.C. § 922(g)(1)
  * Max. Term of Imprisonment: 15 years
  * Mandatory Min. Term of Imprisonment (if applicable):
  * Max. Supervised Release: 3 years
  * Max. Fine: $250,000
  * Special Assessment: $100




    *Refers only to possible term of incarceration, supervised release and fines. It does not include
         restitution, special assessments, parole terms, or forfeitures that may be applicable.
